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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY

CHARLES L. ADLER, GRANT ADLER,
and C. M. ADLER, LLC,                         Case No. 22-cv-06598-GC-DEA

                      Plaintiffs,
                                              Electronically Filed
         v.

GRUMA CORPORATION D/B/A MISSION
FOODS and GUERRERO MEXICAN FOOD
PRODUCTS, ETC.,
                      Defendant.


        DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT
      OF ITS MOTION TO DISMISS AND COMPEL ARBITRATION




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                                         February 13, 2023
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      Defendant Gruma Corporation d/b/a Mission Foods and Guerrero Mexican

Food Products (“Gruma”) files this Motion to Dismiss under Rules 12(b)(1) and

12(b)(6) of the Federal Rules of Civil Procedure and to Compel Arbitration pursuant

to the Texas Arbitration Act (“TAA”) and Federal Arbitration Act (“FAA”).

                           SUMMARY OF MOTION
      The Complaint alleges that plaintiffs Charles L. Adler, Grant Adler, and C.

M. Adler, LLC (collectively, “plaintiffs”) are New Jersey-based distributors and

franchisees of food products supplied to them by Gruma, a company they confirm

in their Complaint as having its principal place of business in Texas. They allege

they have been misclassified as independent contractors instead of employees and

are franchisees who were improperly terminated. The Complaint asserts claims

under the federal minimum wage and hour law; the New Jersey wage and hour, wage

payment, and wage notice laws; the New Jersey franchise practices statute; and New

Jersey common law for rescission, unjust enrichment, and breach of the covenant of

good faith and fair dealing. All of those claims are expressly based on the terms of

an agreement referred to in the Complaint as the “Store Door Distributor

Agreement,” also referred to as the “SDDA” – an agreement that the plaintiffs annex

as Exhibit A to their Complaint.

      The SDDA includes an arbitration clause that forms the basis for this motion

to compel arbitration under the laws set forth in the SDDA’s choice of law provision,



                                         1
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which designates Texas law and the FAA as the laws governing the contract and its

arbitration provisions. The language of the arbitration clause is broad and covers all

of the disputes set forth in this case under prevailing case law as developed under

Texas law and the FAA. Plaintiffs acknowledge in the Complaint that the SDDA

contains an arbitration clause, but they assert that the arbitration provision is “not

effective” under New Jersey law. However, under federal and state choice of law

decisions by courts in this Circuit, the contractual choice of Texas law and the FAA

govern the arbitration clause in the SDDA – not New Jersey law.

      Paragraph 5 of the Complaint alleges that the SDDA was “between Gruma

and its distributors, including the Plaintiffs” (emphasis added). The agreement

attached to the Complaint as Exhibit A was signed in the name of the corporate

plaintiff, C. M. Adler, LLC, and it is anticipated that the individual plaintiffs will

argue that they are not subject to the arbitration provisions therein. There is,

however, abundant case law in this Circuit and under Texas law that authorize the

courts to compel arbitration against non-signatories as well as signatories to an

agreement with an arbitration clause. The courts have done so readily under the

doctrine of estoppel or equitable estoppel whenever non-signatories assert claims

based on an agreement containing an arbitration clause or affirmatively rely upon,

seek relief under, or have benefited from such an agreement – even though they

never signed the contract. As shown by the cases discussed in the Argument section



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below, the courts do not confine the estoppel doctrine in the context of a motion to

compel arbitration to claims for breach of contract, but they also readily extend the

doctrine to claims under statutes and common law, essentially utilizing the principle

that a party cannot have its cake and eat it too.

      The Complaint has over 60 references to the “Store Door Distributor

Agreement,” the “SDDA,” and the “distribution agreement.” It alleges over a dozen

times that the SDDA governs all of the plaintiffs. The thrust of plaintiffs’ wage

claims is that numerous provisions of the SDDA impose direction and control upon

plaintiffs sufficient to establish that they were misclassified as independent

contractors and should instead have been classified as employees – and as

employees, they would be covered by the federal and state wage laws under which

they seek relief in their Complaint. Plaintiffs not only refer repeatedly to the SDDA

in their Complaint, but they rely heavily upon the SDDA to try to establish their

claims under these federal and state wage laws. They also seek relief for the alleged

“wrongful termination of the SDDA,” and acknowledge that they have benefited

from the SDDA (albeit not as much as they feel they were entitled).

      As to their franchise practices claims, plaintiffs allege that they are all

franchisees under the New Jersey Franchise Practices Act, N.J.S.A. 56:10-1, et seq.

In support of their franchise claim, they again make multiple references throughout

their Complaint to the SDDA. The state franchise practices statute they rely upon



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 expressly applies only where there is a “written arrangement.” Thus, the SDDA is

 an essential element of plaintiffs’ franchise practices claim. Indeed, plaintiffs ask

 this Court to reinstate them as franchisees and award them their route back along

 with “damages incurred as a result of the wrongful termination of the SDDA.”

        In addition, plaintiffs assert a common law claim for relief for rescission of

 those “portions” of the SDDA that allegedly violate the wage laws, and they identify

 as unlawful the contractual provisions that classify plaintiffs as independent

 contractors. They do not allege, however, that the entire SDDA is subject to

 rescission or that the arbitration provisions are unenforceable and subject to

 rescission. Similarly, in their good faith and fair dealing claim as discussed below,

 plaintiffs allege that defendant “deprive[d] these plaintiffs of their right to receive

 the benefits under their distribution agreements” and “breached the covenant of

 good faith and fair dealing implied in every contract under New Jersey law”

 (emphasis added).

        In sum, there are few if any cases with a set of allegations that more aptly

 support the application of the doctrine of equitable estoppel in support of a motion

 to compel arbitration against a signatory and two non-signatories, all of whom refer

 to, rely upon, seek relief based on, and have benefited from, an agreement that

 contains a broad arbitration provision that is valid under applicable law and covers

 all of plaintiffs’ claims for relief.



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                     FACTS ALLEGED IN THE COMPLAINT

 A.    The Arbitration Provisions In The SDDA.1
       As noted in the Summary of Motion, the plaintiffs attached the SDDA to the

 Complaint as Exhibit A. (References to the SDDA below will be to the page number

 on the lower left of Exhibit A). Plaintiffs acknowledge in paragraph 17 of the

 Complaint that the SDDA, signed in 2014, contains an arbitration clause. The

 arbitration provision for claims that are not class action claims is found in Subsection

 15 (i) (ii) of the SDDA (at page 21 of 33), and sets forth a broad scope of claims

 subject to arbitration. Subsection 15 (i) (ii) states in relevant part:

              ii. Non-Class Claims

              … [A]ny and all … claims and causes of action arising
              out of or relating to this Agreement (including, without
              limitation, matters relating to this Subsection 15(i)
              regarding arbitration, matters relating to performance,
              breach, interpretation, meaning, construction, or
              enforceability of all or any part of this Agreement, and all
              claims for rescission or fraud in the inducement of this
              Agreement) shall be resolved by arbitration through


 1
   In moving this Court to compel arbitration, Gruma specifically seeks to dispel any
 inference that any of plaintiffs’ claims have any merit. The plaintiffs’ relationship
 with Gruma as independent contractors is legally sound and supported by case law.
 Their claim to have been paid under the minimum wage rate for employees is belied
 by their income reported to the IRS (see footnote 4, infra). And plaintiffs’ argument
 that plaintiffs are franchisees is also erroneous and misplaced. So, too, are plaintiffs’
 common law claims. Nonetheless, defendant understands that the absence of merit
 to any of plaintiffs’ claims is not subject to argument or determination on this
 motion.


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               J.A.M.S/Endispute ("JAMS") as provided in Subsection
               15(i) (iii) below. 2

 (Emphasis added). The SDDA then sets forth the contractual JAMS arbitration

 procedures in Subsection 15 (i) (iv), found at page 22 of 33 of the SDDA, which

 states in relevant part:

               iv. Arbitration Procedures

               All arbitration proceedings, once properly commenced,
               shall proceed pursuant to JAMS Streamlined Arbitration
               Rules and Procedures ("JAMS Streamlined Rules") or
               such other rules as JAMS may then decide are applicable.
               The parties have deliberately selected the JAMS
               Streamlined Rules because they contemplate a quick,
               inexpensive and binding resolution of their individual
               claims and business disputes while memories are fresh.

 (Emphasis added).

 B.     The Choice Of Law Provision In The SDDA And Gruma’s Relationship
        To Texas.


        The SDDA also contains a choice of law provision in Subsection 15 (k),

 providing that Texas law governs and the FAA shall also apply to the extent needed:



               k. Governing law

               This Agreement shall be governed by and construed in
               accordance with the laws of the State of Texas. The
               Federal Arbitration Act, 9 U.S.C. § 1 et seq. shall also

 2
  Subsection 15 (i) (iii) addresses “Class Claims.” The reference in this Subsection
 15 (i) (ii) to Subsection 15 (i) (iii) is a typo and should have referred to Subsection
 15 (i) (iv), which addresses arbitration procedures under JAMS.

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              apply as needed to uphold the validity or enforceability of
              the arbitration provisions of this Agreement.

       Plaintiffs allege in paragraph 18 of the Complaint that defendant has “a

 principal place of business in the United States, located at 5601 Executive Dr. #800,

 Irving, Texas 75038.” See also Complaint ¶ 16 (“Gruma maintains its principal

 place of business within the State of Texas.”). In support of the SDDA’s choice of

 law provision, Gruma is filing the accompanying Declaration of Ron Anderson

 (“Anderson Declaration” or “Anderson Decl.”), Vice President of Retail Sales for

 Gruma Corporation, setting forth the basis for Texas being selected as the state law

 governing the SDDA. As set forth in the Anderson Declaration, Gruma does indeed

 maintain its headquarters at that same address in Irving, Texas, and, in addition to

 Texas being the state where the company’s business affairs in the United States are

 centered, especially as it relates to independent distributors like C. M. Adler, LLC.

 Texas is the state where Gruma:

        developed its policy and practice of designating distributors as independent
         contractors;

        coordinates and carries out the process of drafting and enforcing SDDAs
         with independent distributors, including the drafting and sending of notices
         to such distributors;

        coordinates the purchase and distribution of its products by independent
         distributors;

        employs its senior leadership staff, finance employees, and its senior
         operation employees, and manages those employees that interact with
         independent distributors throughout the U.S.;


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        creates and maintains customer relationships with customers to which
         independent distributors distribute its products;

        determines prices for its products purchased by independent distributors;

        employs its technical team that assists with issues related to the
         independent distributors’ use of their own or Gruma’s handheld
         computers, which facilitate the processing of product orders, purchases,
         and sales;

        coordinates logistical efforts for utilizing third-party carriers that are
         responsible for delivering product to the warehouses of independent
         distributors (like plaintiff C. M. Adler, LLC) that utilize their own
         warehouses; and

        remits payment to independent distributors including plaintiff C. M. Adler
         on a weekly basis for their sales less agreed upon fees, and sends yearly
         Form 1099s to such distributors.


 C.    Plaintiffs State In Their Complaint That The SDDA Governs The
       Distributorship Relationship Between Gruma And All Of The Plaintiffs.
       The SDDA attached as Exhibit A to the Complaint is signed only by one of

 the plaintiffs, C. M. Adler LLC. (See page 24 of 33 of the SDDA, where it was

 signed by Mary Adler as the “CFO” for C. M. Adler, LLC). Page 1 of the SDDA,

 attached as Exhibit A to the Complaint, states that it was “made and entered into

 effective as of 3/7/14 . . ..”   There are abundant references by the plaintiffs

 throughout their Complaint that the SDDA governs all of the plaintiffs.         See

 Complaint ¶¶ 5, 20, 38, 39, 43, 48, 49, 52, 58 (h), 58 (p), 133, 163, 176, 177, 179,

 190. For example, paragraphs 38 and 39 of the Complaint provide as follows:




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              38. Notably, the SDDA provided plaintiffs with a license
              to use defendant’s “Marks” or trademarks and brand
              names, as well as to sell defendant’s products and to use
              other proprietary rights of the defendant as set forth in the
              SDDA. SDDA Sections 1(k), (m), (n), etc.

              39. The SDDA also required that the plaintiffs “shall keep
              and maintain adequate warehouse facilities for any
              inventories of Products Distributor may have on hand from
              time to time” and directed that the warehouse be
              maintained “in clean and sanitary conditions and in full
              compliance with all applicable health, safety and other
              laws or regulations.” SDDA Section 8(c).

 (Emphasis added). Further, in paragraph 25 of the Complaint, plaintiffs allege that

 Charles L. Adler “signed a Store Door Distributor Agreement dated March 7, 2014

 with Gruma.”

 D.    Plaintiffs Refer To, Are Relying Upon, Are Seeking Relief Under, And
       Have Benefited From, The SDDA.
      There are over 60 direct references throughout the Complaint to the words

 “SDDA,” “Store Door Distributor Agreement,” “Store Door Distribution

 Agreement,” and “distribution agreement.”3 In addition, there are many indirect

 references to the SDDA in the Complaint. Section “D” of the “Argument” addresses

 many of those direct and indirect references to the SDDA as well as the manner in

 which all of the plaintiffs rely, in whole or in large part, upon the existence of the

 SDDA itself, or to specific provisions in the SDDA, to support virtually all of their


 3
   The SDDA is entitled “Store Door Distributor Agreement” but the Complaint also
 refers to it as the “Store Door Distribution Agreement.” Compare, e.g., Complaint
 ¶ 5 with Complaint ¶ 25.

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 claims. We also address below that plaintiffs are seeking relief under the SDDA

 (including for wrongful termination of the SDDA). Finally, we address below the

 fact that plaintiffs acknowledge in the Complaint that they benefited from the SDDA

 prior to its termination by Gruma – indeed, the average yearly compensation they

 received from Gruma for sales of food products pursuant to their distribution rights

 under the SDDA exceeded $103,000 per year over their last six years working under

 the SDDA.4

                                   ARGUMENT

 A.    The Governing Law Under The SDDA Including Its Arbitration Clause
       Is Texas And, If Needed To Uphold The Arbitration Clause, The FAA.
       As noted in Section “B” of the “Facts Alleged in the Complaint,” the SDDA

 provides in Subsection 15 (k) that “This agreement shall be governed by and

 construed in accordance with the laws of the State of Texas.” It further provides in




 4
   Plaintiffs state in the Complaint that the SDDA granted them “a license to … sell
 defendant Gruma’s products” (see Complaint ¶ 27) and, as a result, they received
 “earnings from product sales” (id. ¶¶ 84, 106, 125). While plaintiffs repeatedly
 assert that they only received “minimal earnings on product sales,” (see id.
 (emphasis added)), they actually received from Gruma $103,892.84 per year on
 average over each of the last 6 full calendar years prior to Gruma’s termination of
 the SDDA, based on the Forms 1099 sent from Gruma’s Texas offices to C M Adler.
 See Anderson Decl. ¶ 12 and Exhibit A attached thereto (Forms 1099 issued to C M
 Adler LLC by Gruma for 2016 through 2021). Separate and apart from plaintiffs’
 drastically mischaracterizing their profits by telling this Court their earnings on
 product sales was “minimal,” plaintiffs’ hourly rate, even based on the hours they
 allege they worked each week, calculates to over three times the federal minimum
 wage rate and two times the New Jersey minimum wage rate.

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 that subsection that “The Federal Arbitration Act, 9 U.S.C. § 1 et seq. shall also

 apply as needed to uphold the validity or enforceability of the arbitration provisions

 of this Agreement.” Plaintiffs acknowledge in paragraph 17 of the Complaint that

 “the parties’ SDDA purports to contain an arbitration provision,” but “the arbitration

 provision in the SDDA is not effective and therefore not binding pursuant to the laws

 of the State of New Jersey.” However, as shown below, the arbitration provisions

 in the SDDA are not governed by New Jersey law but rather Texas law.

       The general rule in the federal courts when applying a contractual choice-of-

 law clause is to apply the choice of law rules of the forum state. See Homa v. Am.

 Express Co., 558 F.3d 225, 227 (3d Cir. 2009). The New Jersey Supreme Court uses

 the Restatement (Second) Conflict of Laws, Section 187 (1969), as guidance in

 construing its own choice of law rules when dealing with a contractual choice of law

 provision. Instructional Sys., Inc. v. Comput. Curriculum Corp., 130 N.J. 324, 341–

 42 (1992). See also Cobalis Corp. v. Cornell Cap. Partners, LP, No. 2:11-CV-

 04716 (DMC) (JAD), 2011 WL 4962188, at *6 (D.N.J. Oct. 18, 2011).

       As noted by the New Jersey Supreme Court in the above-cited Instructional

 Systems case, the Restatement (Second) provides in Section 187 that the law of the

 state chosen by the parties has effect and will apply unless one of two exceptions are

 applicable: “(a) the chosen state has no substantial relationship to the parties or the

 transaction and there is no other reasonable basis for the parties’ choice” or “(b)



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 application of the law of the chosen state would be contrary to a fundamental policy

 of a state which has a materially greater interest than the chosen state in the

 determination of the particular issue and which . . . would be the state of the

 applicable law in the absence of an effective choice of law by the parties.” 130 N.J.

 at 341–42. As shown below, neither of those two exceptions are applicable here,

 thus Texas law, the state chosen by the parties, applies.

       It is a given that the first exception of Section 187 of the Restatement (Second)

 is inapplicable because Texas has a substantial relationship to the parties or the

 transaction. As noted in Section “B” of the “Facts Alleged in the Complaint,”

 plaintiffs acknowledge that Gruma has its principal place of business in Irving,

 Texas and the accompanying Declaration of Gruma’s Vice-President of Retail Sales

 confirms that Irving, Texas is the headquarters of defendant. See Anderson Decl. ¶

 2. A party’s principal place of business in the state is alone sufficient to establish

 under New Jersey law that there is a “substantial relationship” to such state, even

 without all of the other contacts with Texas that are set forth in the aforesaid

 Declaration. Instructional Sys., Inc., 130 N.J. at 342 (defendant “is headquartered

 in California, and hence California has a ‘substantial relationship to the parties.’”).

 See also N. Bergen Rex Transp., Inc. v. Trailer Leasing Co., 158 N.J. 561, 569 (1999)

 (“headquarters” in a state satisfies the “substantial relationship” test). Accordingly,




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 the law of Texas applies to the SDDA including its arbitration provisions unless the

 second exception is applicable – and as shown below, it is not.

       The second exception to Section 187 of the Restatement (Second) is only

 established if all three of its elements are met. See Howmedica Osteonics Corp. v.

 Howard, No. 19-cv-19254 (EP), 2022 WL 16362464, at *6, (D.N.J. Oct. 28, 2022).

 The first element is that the forum state must have a “materially greater interest”

 than the chosen state in the determination of the particular issue. If and only if that

 element is established, then the second element that must be shown is that the

 “application of the law of the chosen state would be contrary to a fundamental

 policy” of the forum state. If that second element is met, then the third and final

 element is that absent a valid and enforceable choice of law clause, the forum state’s

 law would apply. Id. It is a given that there is no reason for the courts to examine

 the second or third element if the first does not apply. Id., at *8.

       Courts in this district have concluded that when two states both have a

 substantial interest in a matter, “geographic ties” related to one state do not create a

 materially greater interest than a party’s principal place of business in the other state.

 Id., at *7. In Howmedica, the individual parties lived in California; they worked

 primarily worked in California; and the alleged wrongful actions occurred in

 California. In contrast, the corporate party was at least partially based in New Jersey;

 its senior leadership team was at least partially based in New Jersey; some of its



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 research and development, finance, and operations employees were based in New

 Jersey; and some of its equipment and inventory was shipped to the company’s sales

 force from New Jersey. The Howmedica court concluded that both California and

 New Jersey each had a substantial interest in enforcing the rights of the parties but

 that neither had a “materially greater interest” than the other. Id., at *7. See also

 Coface Collections N. Am. Inc. v. Newton, 430 F. App’x 162, 168 (3d Cir. 2011)

 (“geographical contacts do not support the conclusion that [the state where one party

 resides and works and where he signed the contract] has a ‘materially greater

 interest’” than a state where the other party is incorporated and does business.).

       In Rosenberg v. Hotel Connections, Inc., No. 21-4876 (ZNQ) (TJB), 2022 WL

 7534445, at *3–5, (D.N.J. Oct. 13, 2022), the district court judge held that New

 Jersey, the state where a party negotiated and signed an employment contract, lives,

 worked, and brought an action under New Jersey state laws, does not have a

 materially greater interest in the dispute than does New York, the state selected by

 the parties as the choice of law, when the other party was incorporated in New York

 at the time the parties executed the contract (even though it was no longer

 incorporated in that state at the time the lawsuit was brought). As the court stated:

 “There is no question that New Jersey has a substantial relationship to this dispute

 and a material interest in enforcing a New Jersey resident-plaintiff’s rights in an

 employment contract. Nevertheless, New Jersey does not have a materially greater



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 interest than New York in this dispute.” Id. (emphasis in original). In such

 circumstances, the decision concludes, “the Court need not reach the second and

 third elements [of Section 187 of the Restatement (Second)]”. Id., at *5. See also

 Chemetall US Inc. v. Laflamme, No. 16-cv-780 (JLL), 2016 WL 885309, at *6–8

 (D.N.J. Mar. 8, 2016) (a party’s residence, working in, servicing his customers, and

 executing the contract in a state does not mean such state has a materially greater

 interest than the state where the other party is headquartered).

       In conclusion, under court decisions in this Circuit, the law of the state that

 was selected as the parties’ choice of law in the SDDA – Texas law – governs the

 enforcement of the SDDA’s arbitration provision, and the SDDA further provides

 that the FAA can also be used if needed to enforce the arbitration provisions. In

 accordance with the cases noted above, New Jersey law does not impact the

 enforcement of the arbitration provisions in the SDDA, contrary to plaintiffs’

 assertion in paragraph 17 of the Complaint.

 B.    The Arbitration Provisions Broadly Cover All Of The Claims Asserted,
       As Determined Under Texas Law And The FAA.
       As noted above, the SDDA contains an arbitration clause that covers “any and

 all . . . claims and causes of action arising out of or relating to this Agreement.” As

 shown below, such language is regarded under Texas law and the FAA as expansive

 and would encompass every one of the claims for relief asserted in the Complaint.




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       1. The Language Of The Arbitration Clause Is Regarded As Broad Under
          The Texas Arbitration Act.
       Under the TAA, to enforce an arbitration provision, a party must establish

 only that (1) an arbitration agreement exists and (2) the asserted claims fall within

 the scope of that agreement. See In re Dillard Dep’t Stores, Inc., 186 S.W.3d 514,

 515 (Tex. 2006) (holding that parties were bound to arbitration because the

 arbitration agreement was valid and enforceable and plaintiff’s claims fell within its

 scope); see also TEX. CIV. PRAC. REM. CODE § 171.021. Critically, if a court finds

 that a plaintiff’s claims fall within the scope of a valid arbitration agreement, the

 “court has no discretion but to compel arbitration . . ..” In re FirstMerit Bank, N.A.,

 52 S.W.3d 749, 753–54 (Tex. 2001).

       Under the TAA, a “written agreement to arbitrate is valid and enforceable if

 the agreement is to arbitrate a controversy that: (1) exists at the time of the

 agreement; or (2) arises between the parties after the date of the agreement.” TEX.

 CIV. PRAC. & REM. CODE § 171.001. The TAA demands a strong presumption in

 favor of finding a valid and enforceable agreement. See Emerald Tex., Inc. v. Peel,

 920 S.W.2d 398, 402 (Tex. App. 1996).

       In determining whether the asserted claims fall within the scope of a valid

 arbitration agreement, Texas courts resolve any doubts about the agreement to

 arbitrate in favor of arbitration. See Prudential Sec. Inc. v. Marshall, 909 S.W.2d

 896, 899 (Tex. 1995). Here, the pertinent language of the arbitration agreement is


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 that it covers “any and all other claims and causes of action arising out of or relating

 to this Agreement.” (Emphasis added). Under Texas law, where an arbitration

 agreement employs language such as “any claim arising out of or related to the

 Contract,” such language is “construed as evidencing the parties’ intent to be

 inclusive rather than exclusive.” Centex/Vestal v. Friendship W. Baptist Church, 314

 S.W.3d 677, 685–86 (Tex. App. 2010). In such cases, arbitration should be

 compelled absent some “positive assurance that an arbitration clause is not

 susceptible of an interpretation which would cover the dispute at issue.’” In re

 Dillard Dep’t Stores, 186 S.W.3d at 516 (Tex. 2006) (quoting Prudential Sec. Inc.,

 909 S.W.2d at 899).

       2. The Arbitration Clause Language Is Also Regarded As Broad Under
          The FAA.
       The FAA also has established a strong policy in favor of arbitration. See Epic

 Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1621 (2018); Shearson/Am. Exp., Inc. v.

 McMahon, 482 U.S. 220, 224 (1987). The FAA “requires rigorous enforcement of

 arbitration agreements” and “mandates enforcement of applicable arbitration

 agreements even for federal statutory claims.” McMahon, 482 U.S. at 226. The

 Supreme Court recently reiterated its directive to enforce arbitration agreements. See

 Lamps Plus, Inc. v. Varela, 139 S. Ct. 1407, 1415 (2019).

       The Third Circuit has stated that “the terms ‘arising out of’ or ‘relating to’ [in]

 a contract [is] indicative of an ‘extremely broad’ agreement to arbitrate any dispute


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 relating in any way to the contract.” In re Remicade (Direct Purchaser) Antitrust

 Litig., 938 F.3d 515, 523 (3d Cir. 2019) (quoting Curtis v. Cellco P’ship, 413 N.J.

 Super. 26, 37–38 (2010)). In compelling arbitration of federal antitrust claims, the

 Third Circuit in Remicade found that such claims “relate to” the parties’ agreement

 establishing a commercial relationship between the parties including the setting of

 drug prices, noting: “Such broad clauses have been construed to require arbitration

 of any dispute between the contracting parties that is connected in any way to their

 contract.” 938 F.3d at 523. The Third Circuit added that a claim only needs to have

 “some ‘logical or causal connection’ to the agreement to be related to it.” Id. at 524

 (quoting John Wyeth & Bro. Ltd. v. CIGNA Int’l Corp., 119 F.3d 1070, 1074 (3d

 Cir. 1997)).

       3. Application Of The TAA And FAA Mandate Arbitration Of All Claims
          For Relief.

       The case authority cited above under the TAA and FAA uniformly demands

 the same result – that all of plaintiffs’ claims are all subject to arbitration. As shown

 in the foregoing discussion of the law under the TAA and FAA, it is indisputable

 that an arbitration agreement exists and that it is valid and enforceable. While

 plaintiffs assert that the arbitration clause is not effective under New Jersey law, we

 have shown above that New Jersey law does not apply to the SDDA because, under

 the Section 187(2) of the Restatement (Second), Conflict of Laws and applicable

 case law, this state does not have a materially greater interest in this litigation than

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 does Texas. Accordingly, pursuant to the SDDA, Texas law applies (along with the

 FAA to the extent needed for enforcement of the arbitration clause).

       All of the asserted claims in the Complaint fall well within the extremely

 broad scope of the arbitration clause, which covers “any and all other claims and

 causes of action arising out of or relating to this Agreement (including, without

 limitation, matters relating to this Subsection 15(i) regarding arbitration, matters

 relating to performance, breach, interpretation, meaning, construction, or

 enforceability of all or any part of this Agreement, and all claims for rescission or

 fraud in the inducement of this Agreement) . . ..” (emphasis added). Every one of

 the causes of action “arise out of” or in some manner “relate to” the store door

 distributorship relationship that is the subject of the SDDA. Indeed, as plaintiffs

 allege in paragraphs 5 and 34 of the Complaint, the signing of an SDDA was a

 condition for them to establish an alleged employment and franchise relationship

 with Gruma. As the cases explain, courts should compel arbitration absent “positive

 assurance that the arbitration clause is not susceptible of an interpretation that covers

 the asserted dispute.” United Steelworkers of Am. v. Warrior & Gulf Navigation

 Co., 363 U.S. 574, 582–83 (1960). Accordingly, under the TAA and FAA, this

 Court should issue an order compelling arbitration of each of the claims for relief

 asserted. And for the reasons set forth in the following section of the “Argument,”

 the order compelling arbitration should not only cover the party (C M Adler, LLC)



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 whose name appears on the SDDA annexed to the Complaint as Exhibit A, but also

 compel arbitration of all of the claims by each of the two Adler individual plaintiffs,

 even though they did not sign the aforesaid SDDA.

 C.    Arbitration Clauses In A Contract Not Only Cover Signatories But Also
       Non-Signatories That Rely Upon, Seek Relief Under, Or Have Benefited
       From The Contract.
       Non-signatories may be bound to an arbitration clause under prevailing court

 decisions in this Circuit. As the Third Circuit held in Griswold v. Coventry First

 LLC, 762 F.3d 264 (3d Cir. 2014) (quoting Arthur Anderson LLP v. Carlisle, 556

 U.S. 624, 631 (2009)), “a non-signatory may be bound by an arbitration agreement

 if ‘traditional principles’ of state law allow a contract to be enforced by or against

 nonparties to the contract.” Griswold, 762 F.3d at 271. The court noted in Griswold:

              . . . [A] non-signatory may be bound by an arbitration
              clause if it “embraces the agreement and directly benefits
              from it.” Bouriez v. Carnegie Mellon Univ., 359 F.3d 292,
              295 (3d Cir. 2004). “A non-signatory can ‘embrace’ a
              contract in two ways: (1) by knowingly seeking and
              obtaining direct benefits from that contract; or (2) by
              seeking to enforce terms of that contract or asserting
              claims [based on the contract’s other provisions].”
              Haskins v. First Am. Title Ins. Co., 866 F. Supp. 2d 343,
              350 (D.N.J. 2012) (quoting Noble Drilling Services, Inc.
              v. Certex USA, Inc., 620 F.3d 469, 473 (5th Cir. 2010).

 Griswold, 762 F.3d at 272 (emphasis added). As shown below, plaintiffs not only

 are “asserting claims” based on the SDDA itself and many of its provisions, but they

 are “seeking benefits” in the form of relief under the SDDA in their Complaint,



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 including damages for what they allege to be a wrongful termination of the SDDA,

 and have directly benefited for years from the SDDA.

       The estoppel doctrine recognized in Griswold is based on the equitable

 principle that “prevents a non-signatory from ‘cherry-picking’ the provisions of a

 contract that it will benefit from and ignoring other provisions that don’t benefit it

 or that it would prefer not to be governed by (such as an arbitration clause).” Id. at

 273 (quoting Invista S.A.R.L. v. Rhodia, S.A., 625 F.3d 75, 85 (3d Cir. 2010)). “A

 non-signatory cannot knowingly embrace the contract only to later ‘turn its back’ on

 other provisions in the contract, such as an arbitration clause.” Griswold, 762 F.3d

 at 273 (quoting E. I. DuPont de Nemours and Co. v. Rhone Poulenc Fiber and Resin

 Intermediaries, S.A.S., 269 F.3d 187, 199 (3d Cir. 2001)).

       The district courts in New Jersey have applied the estoppel doctrine outlined

 in Griswold in a number of cases. See, e.g., Facta Health, Inc. v. Pharmadent, LLC,

 No. 20-cv-09631 (SRC), 2020 WL 5957619, at *3 (D.N.J. Oct. 8, 2020) (“where a

 non-signatory directly benefits from an agreement that includes an arbitration

 provision, by asserting claims that rely on said agreement as a basis for those claims,

 the non-signatory is then equitably estopped from claiming that he is not bound by

 the arbitration clause in the contract.”); Neal v. Asta Funding, Inc., No. 13-cv-6981

 (KM), 2016 WL 3566960, at *17 (D.N.J. June 30, 2016) (a non-signatory can be

 bound to an arbitration clause by “seeking to enforce terms of the contract or



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 asserting claims” based on the contract and by benefiting directly from the contract

 by obtaining work under the agreement); Bayonne Drydock & Repair Corp. v.

 Wartsila N. Am., Inc., No. 12-cv-819 (CCC), 2013 WL 3286149, at *6 (D.N.J. June

 28, 2013) (a non-signatory cannot seek to avoid an arbitration provision in an

 agreement when it directly benefited from the agreement; here, absent the

 agreement, the non-signatory would not have been able to have performed the work).

       Texas courts likewise have recognized that non-signatories may be compelled

 to arbitrate under an agreement containing an arbitration clause under the estoppel

 doctrine. Texas courts refer to this doctrine as “direct benefits” estoppel where “a

 nonparty cannot both have his contract and defeat it too.” See, e.g., In re Weekley

 Homes, L.P., 180 S.W. 3d 127, 135 (Tex. 2005) (plaintiff that received benefits

 under an agreement cannot avoid the arbitration provisions of the agreement based

 on argument that she did not sign agreement); Specialty Select Care Ctr. of San

 Antonio v. Juiel, No. 04-14-00514-CV, 2016 WL 3944834, at *4–5 (Tex. App. July

 20, 2016) (non-signatory bound to arbitration provision in agreement where she

 pursues a claim based on the contract or obtained benefits from the contract itself);

 Bailey v. Healthsouth Corp., No. 9:17-CV-57, 2017 WL 664445, at *5–7 (Jan. 26,

 2017) (Magistrate Report); recommendation adopted, 2017 WL 661964 (E.D. Tex.

 Feb. 16, 2017) (“direct benefits estoppel” applicable where non-signatory obtained

 benefits under contract prior to the lawsuit; claims in lawsuit are subject to



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 arbitration even if not direct claims under the contract but may include common law

 claims based on negligence).

 D.    In Their Complaint, The Signatory And Two Non-Signatory Plaintiffs
       Repeatedly Reference, Rely Upon, Seek Relief Based On, And Have
       Benefited In The Past From, The SDDA Containing A Broad
       Arbitration Clause.

       1.     All Of Plaintiffs’ Wage And Hour, Wage Payment, Wage Notice,
              And Retaliation Claims Are Based On The Gruma’s Rights And
              Plaintiffs’ Obligations Set Forth In The SDDA.
       The Complaint alleges in paragraph 20 that “plaintiffs … are designated as

 so-called ‘independent contractors’ under the parties’ SDDA,” and further alleges in

 paragraph 21 that “[i]n so doing, Gruma has misclassified plaintiffs as ‘independent

 contractors,’ rather than ‘employees.’” Paragraph 21 continues: “And, as such,

 Gruma has . . . deprived plaintiffs of all of the benefits, privileges and protections

 available to employees . . . [and] avoided meeting their statutory and common law

 duties, as ‘employers,’ to plaintiffs, as ‘employees,’ including statutory wage and

 hour provisions . . ..” Paragraph 23 of the Complaint adds: “All the while – and as

 more fully detailed in the pages that follow – Gruma has exercised a high degree of

 control and oversight of plaintiffs’ activities, such that the use of the term

 ‘independent contractors’ in the SDDA is absolutely meaningless and not

 representative of the actual relationship between the parties. In fact, the reality is just

 the opposite.”




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       The lengthy and detailed Complaint thereafter devotes over six full pages of

 allegations relating to the SDDA in two sections: the first entitled “The SDDA

 Agreement and the Realities of the Employer-Employee Relationship Between

 Defendant and Plaintiffs,” and the second entitled “The Misclassification of

 Plaintiffs as ‘Independent Contractors’ – and the Many Indicia of the True

 Employer-Employee Relationship.” See Complaint ¶¶ 44–60. Each of plaintiffs’

 first nine causes of action are brought under the federal Fair Labor Standards Act

 (“FLSA”) and various New Jersey wage statutes; it is a given that such statutes only

 protect workers who are “employees” and not independent contractors. Plaintiffs

 refer repeatedly to the SDDA in paragraphs 48 through 52, 56 and 57, and in the 12

 subparagraphs of paragraph 58 of the Complaint.5 All such references seek to

 support their allegation that Gruma directs and controls the plaintiffs and obligates

 them to work in a manner that they assert is consistent with “employee” status

 instead of an independent contractor relationship. The large number of direct and

 indirect references to the SDDA in the Complaint overwhelmingly demonstrate that



 5
   Plaintiffs make direct references to the SDDA in subparagraphs 58(b), (h), (p), and
 (q). In subparagraphs 58(e), (f), (g), (i), (k), (l), (r) and (s), plaintiffs make indirect
 references to the SDDA by alleging that Gruma retains or has the right to approve,
 disapprove, require, prohibit, or limit the activities of plaintiffs. Other paragraphs
 throughout the Complaint likewise focus on provisions in the SDDA that
 purportedly give Gruma the right to direct and control the performance of plaintiffs
 and, as such, are alleged to be further indicia of an employer-employee relationship.
 See, e.g., Complaint ¶¶ 37, 39, 48–49, 51, 52, 133.

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 plaintiffs are basing their claims under federal and state wage laws on numerous

 provisions contained in the SDDA, and thus cannot turn their back on its arbitration

 clause.6

       To the extent the case law also authorizes courts to apply the estoppel doctrine

 where a non-signatory has received benefits under an agreement containing an

 arbitration clause, plaintiffs readily acknowledge in the Complaint (in connection

 with Counts I, III, and V) that they received “earnings” from product sales

 (Complaint ¶¶ 84, 106, 125) authorized under the SDDA (id. ¶ 27). See also footnote

 4, supra.

      Counts VIII and IX of the Complaint (see id. ¶¶ 145–54) allege retaliation by

 Gruma against all of the plaintiffs for “terminating plaintiffs” under two of the

 federal and state wage laws specified in Counts I through VII (see id. 79–144).



 6
   Not only do plaintiffs allege that Gruma misclassified the plaintiffs as independent
 contractors by directing and controlling the plaintiffs’ work by means of the
 provisions in the SDDA, plaintiffs also seek relief for “improper deductions and
 withholdings from wages” (Count III) based on the provisions in the SDDA. They
 allege as follows: “As discussed supra, defendant also willfully and impermissibly
 required plaintiffs to pay for insurance, equipment, product, fees, technology, and
 other business expenses and costs that were incurred for the direct benefit of
 defendant and the Gruma enterprise.” See Complaint ¶ 106. Plaintiffs’ reference to
 “supra” includes, inter alia, the allegations in paragraph 52 of the Complaint that
 “the SDDA mandates that the plaintiffs purchase and supply their own delivery
 trucks, insurance, and requires that the plaintiffs use exclusively the defendant’s
 hand-held devices . . ..” Plaintiffs’ Count V for “failure to reimburse expenses” has
 similar allegations based on the provisions of the SDDA that requires distributors to
 pay for their own expenses. See, e.g., id. ¶ 123.

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 Plaintiffs allege they were retaliated against by Gruma when it “terminated plaintiffs

 and otherwise took adverse employment actions, including but not limited to by

 terminating plaintiffs.” See Complaint ¶¶ 149, 153. As the Complaint further alleges,

 Plaintiffs’ retaliation allegations are based on Gruma’s termination of the SDDA

 contract. See id. ¶ 67. In asserting their retaliation claims, plaintiffs expressly

 incorporate all of the prior paragraphs’ allegations “as if more fully set forth herein.”

 Id. ¶¶ 145, 151. In addition to incorporating dozens of Complaint allegations that

 they were involved in a “true” employer-employee relationship, they also

 incorporated their allegations that Gruma wrongfully terminated the SDDA. See id.

 ¶¶ 8, 67, 72, along with the SDDA termination letter that plaintiffs referenced in

 paragraph 72 of the Complaint and attached thereto as Ex. B.

       To remedy their allegation that the allegedly retaliatory termination of the

 SDDA violated federal and state wage laws, they rely further upon the SDDA when

 they seek “actual damages incurred as a result of defendant’s wrongful termination

 of the SDDA.” See item “g” (emphasis added) in the “Relief Requested” section of

 the Complaint.7 By relying upon the SDDA, the plaintiffs, even the two non-

 signatories, are also subject to the arbitration clause found therein.




 7
  There are two item (g)’s in the “Relief Requested” on page 45 of the Complaint.
 The one seeking damages for alleged wrongful termination of the SDDA is the first
 of the two item (g)’s.

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       2.     Plaintiffs’ Franchise Practices Act Claim Requires That They
              Plead They Had A “Written Arrangement” And That It Was
              Terminated By Defendant Without Cause.
       Paragraphs 34 to 44 and paragraphs 174 to 193 of the Complaint address

 plaintiffs’ claims in Count XIII of the Complaint for “Violations of New Jersey

 Franchise Practices Act (N.J.S.A. § 56:10-1 et seq.).” Plaintiffs allege that “the

 SDDA provided plaintiffs with a license to use defendant’s ‘Marks’ or trademarks

 and brand names, as well as to sell defendant’s products and use other proprietary

 rights of the defendant as set forth in the SDDA.” See Complaint ¶ 38. See also id.

 ¶¶ 176–177. Plaintiffs allege that “the plaintiffs’ purchase of the distributorship

 route constituted the purchase of a ‘franchise’ within the meaning of the … New

 Jersey Franchise Practices Act . . ..” Id. ¶ 183. They further allege that Gruma

 “elected to terminate the SDDA ‘without cause’ (see id. ¶ 67 and Exhibit B annexed

 to the Complaint), which plaintiffs assert is a violation of the New Jersey Franchise

 Practices Act (see id. ¶ 182).

       Plaintiffs’ reliance on the SDDA is an essential element of a Franchise

 Practices Act claim, inasmuch as the definition of a “franchise” under the Act

 “means a written arrangement . . . in which a person grants to another person a

 license to use a trade name, trade mark, service mark, or related characteristics . . ..”

 N.J.S.A. § 56:10-3.a (emphasis added). Thus, this claim for relief is wholly

 dependent upon the existence of the SDDA and Gruma’s election to terminate the



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 SDDA.8 In addition, plaintiffs ask this Court to reinstate them as franchisees and

 award their route back, which was conveyed to them under the terms of the SDDA.

 See Complaint ¶ 193.

       3.     Plaintiffs’ Rescission, Unjust Enrichment, And Good Faith And
              Fair Dealing Claims Are Based Upon The SDDA And Likewise
              Seek Relief Under The SDDA.
       Count X of the Complaint seeking “Rescission” specifically references the

 SDDA on five occasions. It alleges in paragraph 157 that to the extent the SDDA

 classifies plaintiffs as independent contractors, it is “improper and inaccurate.” See

 also Id. ¶ 160 (alleging the classification of distributors as independent contractors

 is an “unlawful business practice.”). Paragraph 163 of the Complaint specifically

 seeks to rescind “those portions [of the SDDA] that violate law” (emphasis added).

 Plaintiffs do not seek rescission of the entire SDDA or the arbitration provisions in

 the SDDA, only those provisions that they claim to violate law. Indeed, as noted

 earlier, in item “g” of the “Relief Requested,” plaintiffs seek damages for

 “defendant’s wrongful termination of the SDDA” which includes an arbitration

 agreement that, by its terms, specifically covers in Subsection 15(i) (ii) “all claims

 for rescission.”




 8
    The Franchise Practices Act in any event does not apply to plaintiffs, but that is
 not a matter for this motion.

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       Count XI of the Complaint for “Unjust Enrichment” is based on “defendant’s

 conduct in misclassifying plaintiffs as independent contractors,” which as noted in

 Count X seeking rescission, is based in large measure on those “portions” of the

 SDDA that classified distributors as independent contractors and allegedly directed

 and controlled plaintiffs, as noted above.

       Count XIV of the Complaint for “Breach of the Covenant of Good Faith and

 Fair Dealing” seeks relief based on the actions by defendant that allegedly

 “deprive[d] these plaintiffs of their right to receive the benefits under their

 distribution agreements.” Complaint ¶ 195 (emphasis added). See also id. ¶ 197

 (Gruma “depriv[ed] plaintiffs of the benefits of the contract to which they were

 entitled.”). In addition, plaintiffs claim that Gruma breached “the covenant of good

 faith and fair dealing implied in every contract under New Jersey law.” Id. Plaintiffs

 also seek damages against defendant “for its breaches of the covenant of good faith

 and fair dealing” implicit in the SDDA. This claim, therefore, effectively seeks to

 enforce the SDDA, which includes an arbitration provision covering all of their

 disputes.

       In sum, plaintiffs’ wage claims, retaliation claims, franchise claims, and

 common law claims all rely upon the SDDA. In addition, the franchise claims are

 dependent upon the SDDA. And the retaliation and common law claims seek relief

 premised on the SDDA. Finally, plaintiffs have benefitted from the SDDA’s having



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 “received earnings on product sales” as a result of the license in the SDDA to sell

 Gruma’s products (see footnote 4). As a result, the non-signatory plaintiffs are

 equally bound to the arbitration provisions in the SDDA as is the signatory plaintiff.

                                    CONCLUSION
       Gruma has established that a valid arbitration agreement (which plaintiffs

 attached to their Complaint) exists under Texas law and under the FAA, which are

 the applicable laws governing the arbitration provisions; that the arbitration

 provisions are broad and cover all of the claims for relief in the plaintiffs’ Complaint;

 and that the two non-signatory plaintiffs are equitably estopped from asserting that

 they are not covered by the arbitration provisions in the pertinent agreement because

 they rely upon, seek relief under, and have obtained benefits for years under such

 agreement containing the arbitration provisions. For these reasons, we respectfully

 request that the Court compel each of the plaintiffs to arbitrate all of the claims in

 their Complaint in accordance with the arbitration provisions set forth in the

 underlying agreement and dismiss the Complaint.




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 Dated: February 13, 2023

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